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                         EXHIBIT A
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                United States Court of Appeals
                     for the Fifth Circuit                            United States Court of Appeals
                                     ____________                              Fifth Circuit

                                                                             FILED
                                      No. 24-60223                       April 17, 2025
                                     ____________                       Lyle W. Cayce
                                                                             Clerk
      AT&T, Incorporated,

                                                                        Petitioner,

                                           versus

      Federal Communications Commission; United States of
      America,

                                                                     Respondents.
                       ______________________________

           Petition for Review of the Federal Communications Commission
                                   Agency No. 24-40
                     ______________________________

      Before Haynes, Duncan, and Wilson, Circuit Judges. ∗
      Stuart Kyle Duncan, Circuit Judge:
            AT&T seeks review of a Federal Communications Commission
      forfeiture order. In an internal proceeding, the Commission found that
      AT&T violated section 222 of the Telecommunications Act by mishandling
      customer data and fined the company $57 million. AT&T’s petition argues,
      among other things, that the in-house adjudication violated the Constitution
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            ∗
                Judge Haynes concurs in the judgment only.
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      by denying it an Article III decisionmaker and a jury trial. Guided by SEC v.
      Jarkesy, 603 U.S. 109 (2024), we agree with AT&T.
             Accordingly, we grant the petition and vacate the forfeiture order.
                                            I
                                            A
             We first outline section 222 of the Telecommunications Act and then
      explain the Commission’s procedures for enforcing it.
                                            1
             Under section 222, telecommunications carriers must protect the
      confidentiality of “customer proprietary network information” (“CPNI”).
      47 U.S.C. § 222(a). CPNI is defined as “information that relates to the
      quantity, technical configuration, type, destination, location, and amount of
      use of a telecommunications service subscribed to by any customer of a
      telecommunications carrier, and that is made available to the carrier by the
      customer solely by virtue of the carrier-customer relationship.” Id.
      § 222(h)(1)(A).
             Section 222 further provides that carriers “[e]xcept as required by law
      or with the approval of the customer . . . shall only use, disclose, or permit
      access to individually identifiable [CPNI] in its provision of (A) the
      telecommunications service from which such information is derived, or
      (B) services   necessary   to,   or   used      in,   the   provision   of   such
      telecommunications service . . . .” Id. § 222(c)(1). Commission regulations
      flesh out these responsibilities. Carriers “must take reasonable measures to
      discover and protect against attempts to gain unauthorized access to
      CPNI,” 47 C.F.R. § 64.2010(a), and they may use or disclose CPNI only
      with customers’ “opt-in approval.” Id. § 64.2007(b).




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                                                    2
             The Commission assesses forfeiture penalties for violations of the
      Act, including violations of section 222. 47 U.S.C. § 503(b)(3)(A). The
      Commission adjudicates alleged violations in two ways: either by assigning a
      case to an administrative law judge (“ALJ”) or by investigating and
      adjudicating the case itself. Ibid. The choice is entirely up to the Commission.
      Ibid. 1 Unsurprisingly perhaps, the Commission typically opts to investigate
      and adjudicate violations itself, as it did here. That process works as follows.
             First, upon receiving information about a potential violation, the
      Commission’s Enforcement Bureau opens an investigation into a carrier.
      The Bureau can gather information through letters of inquiry sent to the
      carrier, which may include interrogatories and requests for production.
      Enforcement Primer, Federal Communications Commission,
      https://perma.cc/FMQ2-ZH7C. It may also compel documents and
      testimony through administrative subpoenas. Ibid. If the Bureau suspects a
      violation has occurred, it issues a charging document to the carrier called a
      Notice of Apparent Liability for Forfeiture (“NAL”). 47 U.S.C.
      § 503(b)(4)(A). An NAL advises the carrier how it violated the law and
      proposes a penalty.
             To assess the amount of a penalty, the Commission “shall take into
      account the nature, circumstances, extent, and gravity of the violation and,

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                 Section 503(b)(3)(A) provides in full:
             At the discretion of the Commission, a forfeiture penalty may be
             determined against a person under this subsection after notice and an
             opportunity for a hearing before the Commission or an administrative
             judge therefore in accordance with section 554 of Title 5. Any person
             against whom a forfeiture penalty is determined under this paragraph may
             obtain review thereof pursuant to section 402(a) of this title.




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      with respect to the violator, the degree of culpability, any history of prior
      offenses, ability to pay, and such other matters as justice may require.” Id.
      § 503(b)(2)(E). Any penalty “shall not exceed $100,000 for each violation or
      each day of a continuing violation, except that the amount assessed for any
      continuing violation shall not exceed a total of $1,000,000 for any single act
      or failure to act . . . .” Id. § 503(b)(2)(B).
             Once the Commission issues an NAL, the carrier may respond in
      writing to explain why it should incur no penalty. Id. § 503(b)(4)(C). After
      considering this response, the Commission decides whether to affirm the
      NAL. If it affirms, the Commission issues a forfeiture order. The written
      response is the only way a carrier can oppose a NAL. That is, a carrier
      receives neither a hearing nor a trial before it incurs a Commission forfeiture
      order and accompanying penalty. See AT&T Corp. v. FCC, 323 F.3d 1081,
      1083 (D.C. Cir. 2003) (alleged violators can challenge NAL in writing only).
             Two paths exist for a carrier to seek review of forfeiture orders.
             On the first path, a carrier fails to timely pay the penalty, which
      becomes a debt to the United States. 47 U.S.C. § 504(a). The Commission
      refers the debt to the United States Attorney General (DOJ) for a collection
      action in federal district court. Ibid. If DOJ pursues the action, the carrier is
      entitled to a trial de novo (we refer to this as a “section 504 trial”). At trial,
      however, the carrier may challenge only the order’s factual basis, not its legal
      validity. See United States v. Stevens, 691 F.3d 620, 622 (5th Cir. 2012) (in
      section 504(a) action, district court was “limited to considering the factual
      basis for the agency action” but not petitioner’s “legal arguments”).
             On the second path, a carrier timely pays the penalty and seeks review
      in the appropriate court of appeals. See AT&T Corp., 323 F.3d at 1084; see
      also Stevens, 691 F.3d at 623 (noting “the courts of appeals[’] . . . exclusive
      jurisdiction . . . to determine the validity of final FCC forfeiture orders”)




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      (quoting 28 U.S.C. § 2342(1)) (cleaned up); see also 47 U.S.C. § 402(a). The
      carrier may challenge the order’s legal validity but, by choosing this path,
      forgoes a jury trial. See AT&T Corp., 323 F.3d at 1084.
                                           B
             Next, we sketch this case’s factual and procedural background.
                                            1
             AT&T provides its customers with voice, text, and data services. To
      make and receive calls and to transmit data, customers’ phones periodically
      “register,” or “check in,” with nearby signal towers. Because AT&T knows
      where these towers are, it can calculate the approximate location of its
      customers’ phones. AT&T uses this location information to maintain
      network function and to provide services to customers.
             At issue here is AT&T’s former location-based services program,
      which it discontinued March 2019. Location-based services give users up-to-
      date information about their surroundings, such as maps and traffic
      information. They also include services from providers like Life Alert and
      AAA, which depend upon customers’ locations.
             While nothing is wrong in principle with providing location-based
      services, the Commission took issue with how AT&T protected its
      customers’ location data. To implement location-based services, AT&T
      contracted with “location aggregators,” who collected customers’ location
      data. The aggregators, in turn, sold this data to service providers like Life
      Alert or AAA.
             Before allowing those sales, however, AT&T would review a service
      provider’s “use case,” where the provider described why it needed the
      location data and how it obtained customers’ opt-in consent to use the data.
      (That the providers—as opposed to AT&T—obtained users’ consent would




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      be important in the Commission’s section 222 analysis.) AT&T’s program
      also required providers to obtain and document customer consent for every
      location request.
             While AT&T reviewed the providers’ consent records daily, it did
      not verify customer consent before providing access to location data. AT&T
      also required aggregators to monitor providers and to comply with various
      security requirements, such as vulnerability scanning and encryption. At the
      same time, AT&T could cut off access to customer location information at
      any time.
              Beginning in May 2018, several news articles reported problems with
      AT&T’s (and other carriers’) location-based services programs. Put simply,
      it became clear that some service providers were misusing or failing to protect
      customer location data. 2 After learning about this, AT&T promptly
      terminated those providers’ access to the data. And by March 2019, AT&T
      stopped providing location data to all aggregators for use by any location-
      based service provider.
                                                 2
             In May 2018, prompted by such news reports, the Commission’s
      Enforcement Bureau began investigating AT&T and eventually sent the
      company a letter of inquiry seeking information about its location-based
      services program. AT&T complied with the investigation.



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                One example was Securus Technologies, which provided location services to law
      enforcement and correctional facilities. Securus allegedly allowed officers to access
      customer location data without a customer’s consent, so long as officers uploaded a
      document (like a warrant) authorizing the location request. The problem was that Securus
      did not verify whether uploaded documents actually authorized the request.




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             In February 2020, the Commission issued AT&T an NAL for willful
      and repeated violations of section 222 of the Act and section 64.2010 of the
      Commission’s rules. The NAL proposed a $57,265,625 penalty. Responding
      in writing, AT&T argued that: (1) location information is not subject to the
      Act because it is not CPNI, and, in any event, AT&T lacked fair notice that
      location information is CPNI; (2) AT&T acted reasonably; (3) the
      forfeiture amount was arbitrary and capricious; and (4) the Commission’s
      enforcement regime is unconstitutional under Article III, the Seventh
      Amendment, and the nondelegation doctrine.
             In April 2024, the Commission rejected all of AT&T’s arguments
      and affirmed the proposed $57 million penalty. In short, the Commission
      decided that: (1) CPNI relates to the “location” of a telecommunications
      service under § 222(h)(1)(A) because a carrier must be aware of and use the
      device’s location for customers to send and receive calls; (2) that section
      speaks for itself and thus gave AT&T notice; (3) AT&T acted unreasonably
      by relying on providers to enforce safeguards against unauthorized access to
      location information 3; and (4) AT&T’s constitutional arguments failed
      because (a) the possibility of a section 504 trial satisfied the Seventh
      Amendment and Article III, and (b) the Commission’s ability to choose
      between enforcement procedures did not implicate the nondelegation
      doctrine. 4
             The Commission therefore issued a forfeiture order demanding
      AT&T pay the $57 million penalty within 30 days.

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                 Specifically, the Commission found that AT&T committed 84 continuing
      violations of the Act and that its failures were willful or repeated.
             4
                Two Commissioners dissented from the NAL. One thought CPNI does not
      include customer location data; but if it did, AT&T lacked notice of that. The other
      thought the forfeiture amount was unreasonable.




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              AT&T elected to timely pay the penalty and seek review in our court.
      Before us, the company raises the same arguments it raised before the
      Commission.
              We resolve AT&T’s appeal based on its Seventh Amendment and
      Article III challenges to the Commission’s enforcement regime, which we
      review de novo. Loper Bright Enters. v. Raimondo, 603 U.S. 369, 412–13 (2024).
      So, we need not reach the other issues AT&T raises. 5
                                                   II
              AT&T argues that the Commission’s enforcement procedures
      violate its Seventh Amendment right to a jury trial and its right to
      adjudication by an Article III court.
              Our analysis is governed by SEC v. Jarkesy, 603 U.S. 109 (2024). In
      that case, the Supreme Court ruled that the Seventh Amendment prohibited
      the SEC from requiring respondents to defend themselves before an agency,
      rather than a jury, against civil penalties for alleged securities fraud. Id. at 140.
      The Court also ruled that the case did not fall within the “public rights”
      exception, which would let Congress assign certain matters to an agency
      instead of an Article III court. Id. at 134.
              We must determine whether, following Jarkesy, the Commission’s
      enforcement regime also violates the Seventh Amendment and Article III.
                                                   A
              The Seventh Amendment provides in relevant part:

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                 Specifically, those issues are: whether the Commission’s discretion to choose
      between an NAL or ALJ violates the nondelegation doctrine; whether the Commission
      lacked statutory authority to issue the forfeiture order; and whether the forfeiture order is
      arbitrary and capricious.




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             In Suits at common law, where the value in controversy shall
             exceed twenty dollars, the right of trial by jury shall be
             preserved[.]
      U.S. Const. amend. VII. The threshold question is whether the
      Commission’s enforcement proceeding qualifies as a “suit at common law.”
      A common law suit is one that is “legal in nature,” as opposed to one
      sounding in the realm of equity or admiralty. See Jarkesy, 603 U.S. at 122
      (quoting Granfinanciera, S. A. v. Nordberg, 492 U.S. 33, 53 (1989)); see ibid.
      (“[T]he Framers used the term ‘common law’ in the Amendment in
      contradistinction to equity, and admiralty, and maritime jurisprudence.”
      (quoting Parsons v. Bedford, 3 Pet. 433, 446 (1830))).
             How do we tell whether a suit is legal in nature? By considering two
      things: the cause of action and the remedy provided. Id. at 123.
                                             1
             We start with the remedy because it is the “more important”
      consideration. Ibid. (quoting Granfinanciera, 492 U.S. at 421).
             The Commission’s civil penalties “are the prototypical common law
      remedy.” Ibid. They are money damages designed to “punish or deter”
      violators of section 222. Ibid. This is evident from the statutory factors, which
      instruct the Commission to set penalties by reference to “the nature,
      circumstances, extent, and gravity of the violation” as well as the violator’s
      “degree of culpability.” 47 U.S.C. § 503(b)(2)(E). It is also evident from the
      considerations the Commission used to set AT&T’s penalty, such as
      whether AT&T acted “willfully” and “repeatedly” and whether the
      violations were “serious.” Cf. Jarkesy, 603 U.S. at 123 (noting the statutory
      penalty factors included whether a defendant was a repeat offender and
      whether its conduct was deliberate).




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             Moreover, the penalties are not remedial. They are not designed
      “solely to ‘restore the status quo.’” Ibid. (quoting Tull v. United States., 481
      U.S. 412, 422 (1987)); see also United States v. Hoffman, 901, F.3d 523, 560–
      61 (5th Cir. 2018) (“As opposed to restitution which is remedial, forfeiture
      is punitive.”). Nor are they meant to compensate victims whose location data
      was compromised. See 47 U.S.C. § 504(a) (“The forfeitures provided for in
      this chapter shall be payable into the Treasury of the United States”); cf.
      Jarkesy, 603 U.S. at 124 (noting SEC was “not obligated to return any money
      to victims”).
             So, like the penalties in Jarkesy, the civil penalties here are “a type of
      remedy at common law that could only be enforced in courts of law.” Id. at
      125 (quoting Tull, 481 U.S. at 422). That “is all but dispositive” of the
      Seventh Amendment issue. Id. at 123.
                                               2
             Saying nothing about the remedy, the Commission instead focuses on
      the second consideration, the nature of the cause of action. It argues that an
      action to enforce section 222 does not bear a “close relationship” to any
      common law cause of action and that, as a result, the Seventh Amendment
      does not apply. We disagree.
             As AT&T argues, the section 222 action is analogous to common law
      negligence. 6 The action punishes carriers for failing to take reasonable
      measures to protect customers’ personal data. See 47 C.F.R. § 64.2010(a)
      (“[Carriers] must take reasonable measures to discover and protect against
      attempts to gain unauthorized access to CPNI.”). The Commission decided


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               AT&T also argues the action is analogous to common law actions for intrusion
      upon seclusion and eavesdropping. We need not address that argument.




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      whether AT&T violated section 222 by repeatedly asking whether the
      company had acted reasonably.
             For example, the Commission found AT&T unreasonably failed to
      protect customer data by relying on aggregators to enforce procedural
      safeguards, instead of enforcing the safeguards itself. The Commission also
      found AT&T’s safeguards to be unreasonable because the company
      continued to provide customer location data to aggregators, despite reports
      of unauthorized disclosures. And the Commission found AT&T acted
      unreasonably by failing to “rectify the systemic vulnerabilities at the heart of
      its [] program.” In sum, the Commission assessed AT&T’s protection of
      customer location data entirely in terms of the reasonableness of the
      company’s actions.
             Such analysis is a staple of the common law. “An act or an omission
      may be negligent if the actor realizes or should realize that it involves an
      unreasonable risk of harm to another through the conduct of the other or a
      third person which is intended to cause harm, even though such conduct is
      criminal.” Restatement (Second) of Torts § 302B (2024). This
      familiar tort mirrors the Commission’s analysis of AT&T’s actions:
      “[AT&T’s] failure to adequately protect CPNI for a protracted amount of
      time caused substantial harm by making it possible for malicious actors to
      identify the exact locations of AT&T subscribers who belong to law
      enforcement, military, government, or other highly sensitive positions—
      thereby threatening national security and public safety . . . .” The
      Commission’s action, then, is analogous to common law negligence.
             The Commission responds that section 222 is not analogous to
      negligence but instead is a “highly reticulated and technical scheme” for
      safeguarding customer data. That is a false choice. The Seventh Amendment
      applies to common law suits “whatever may be the peculiar form which they




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      may assume.” Jarkesy, 603 U.S. at 122 (quoting Parsons, 3 Pet. at 447); see
      also Tull, 481 U.S. at 418–19 (“Actions by the Government to recover civil
      penalties under statutory provisions therefore historically have been viewed
      as one type of action in debt requiring trial by jury.”). However “technical”
      section 222 may be, its substance is closely analogous to a negligence action.
             The Commission also points out that, unlike the securities laws in
      Jarkesy, section 222 does not borrow common law terms like “negligence”
      or “reasonable care.” Cf. Jarkesy, 603 U.S. at 125 (noting “Congress
      deliberately used ‘fraud’ and other common law terms of art” in the
      securities laws). That is partially true—the scheme does not use the term
      “negligence” but does speak of “reasonable measures”—but in any event it
      is not determinative. Yes, a statute’s borrowing common law terms may show
      its kinship to a common law action. Cf. ibid. (“Congress’s decision to draw
      upon common law fraud created an enduring link between federal securities
      fraud and its common law ‘ancestor.’”) (cleaned up). The key inquiry,
      though, is not what terminology the statute uses but whether the statute
      “target[s] the same basic conduct” as the common law claim. Ibid. The
      answer here is yes: section 222 action targets a carrier’s negligence in
      handling customer data.
             Moreover, as Jarkesy explained, the statutory action need not be
      “identical” to a common law analogue. See id. at 126 (“That is not to say that
      federal securities fraud and common law fraud are identical.”); id. at 135
      (“[I]f the action resembles a traditional legal claim, its statutory origins are
      not dispositive.” (citing Granfinanciera, 492 U.S. at 52)). All that is needed
      is a “close relationship,” Jarkesy, 603 U.S. at 126, and section 222 satisfies
      that requirement.
             To be sure, the relationship between the section 222 action and a
      common law analogue is not as obvious as it was in Jarkesy. But ambiguity on




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      this second consideration points us back to the “more important” first
      consideration—remedy. Jarkesy, 603 U.S. at 123. As noted, section 222
      imposes the archetypal common law remedy of money damages, which is “all
      but dispositive” of the Seventh Amendment issue. Ibid.
                                                  B
              The Commission next defends its enforcement proceeding under the
      “public rights” exception, which, it contends, lets Congress assign the
      proceeding to an agency rather than a court. We disagree.
                                                  1
              Suits at common law presumptively concern “private rights” and
      must be adjudicated by Article III courts. Jarkesy, 603 U.S. at 127 (citing
      Stern v. Marshall, 564 U.S. 462, 484 (2011)). “The Constitution prohibits
      Congress from ‘withdraw[ing] [such matters] from judicial cognizance.’”
      Ibid. (quoting Murray’s Lessee v. Hoboken Land & Improvement Co., 18 How.
      272, 284 (1856) (second brackets added)). “Public rights” cases, however,
      may be channeled to agencies instead of courts. Ibid.
              This narrow exception to Article III applies only to matters that
      “historically could have been determined exclusively by [the executive and
      legislative] branches.” Id. at 128 (quoting Stern, 564 U.S. at 493). While the
      Supreme Court has not “definitively explained” what divides public from
      private rights, it has pointed to “historic categories of adjudications”
      occurring outside Article III. Id. at 131, 130. Examples include revenue
      collection, foreign commerce, immigration, tariffs, tribal relations, public
      lands, public benefits, and patents. Id. at 128–30. 7 That said, the exception

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                 See Murray’s Lessee, 18 How. at 281, 285 (action to compel federal customs
      collector to pay public funds into Treasury); Oceanic Steam Nav. Co. v. Stranahan, 214 U.S.
      320, 335 (1909) (action to enforce fine on steamship company for disobeying federal




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      must be handled “with care.” Id. at 131. “[E]ven with respect to matters that
      arguably fall within the scope of the ‘public rights’ doctrine, the presumption
      is in favor of Article III courts.” Id. at 132 (quoting Northern Pipeline Constr.
      Co. v. Marathon Pipe Line Co., 458 U.S. 50, 69 n.23 (1982)).
                                                    2
              The Commission argues its enforcement action falls within the public
      rights exception because it involves common carriers. See Nat’l Cable &
      Telecommunications Ass’n v. Brand X Internet Servs., 545 U.S. 967, 975 (2005)
      (“The [Communications] Act regulates telecommunications carriers . . . as
      common carriers.”). Given that common carriers like AT&T are “affected
      with a public interest,” Munn v. Illinois, 94 U.S. 113, 130 (1876), the
      Commission contends Congress could assign adjudication of civil penalties
      against them to agencies instead of courts. For several reasons, we disagree.
              First, the Commission’s proposal would blow a hole in what is meant
      to be a narrow exception to Article III. Myriad enterprises might be said to
      implicate the “public interest.” 8 And Congress’s power to regulate common
      carriers is broad. See Glob. Crossing Telecommunications, Inc. v. Metrophones
      Telecommunications, Inc., 550 U.S. 45, 48 (2007) (“When Congress enacted
      the Communications Act of 1934, it granted the FCC broad authority to
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      prohibition on allowing immigration by aliens with contagious diseases); Ex parte Bakelite
      Corp., 279 U.S. 438, 458 (1929) (assessment of President’s tariffs on goods imported by
      “unfair methods of competition”); United States v. Jicarilla Apache Nation, 564 U.S. 162,
      174 (2011) (relations with Indian tribes); Crowell v. Benson, 285 U.S. 22, 51 & n.13 (1932)
      (administration of public lands); ibid. (public benefits such as veterans benefits and
      pensions); United States v. Duell, 172 U.S. 576, 582–83 (1899) (patent rights).
              8
                 See NetChoice, L.L.C. v. Paxton, 49 F.4th 439, 445 (5th Cir. 2022) (social media
      activity), overruled on other grounds by Moody v. NetChoice, L.L.C., 603 U.S. 707 (2024); Fed.
      Power Comm’n v. Hope Nat. Gas Co., 320 U.S. 591, 611 (1944) (natural gas operations);
      Nat’l Union Fire Ins. Co. v. Wanberg, 260 U.S. 71, 74 (1922) (hail insurance); New York v.
      FERC, 535 U.S. 1, 19 (2002) (electric energy).




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      regulate interstate telephone communications.”). If injected into the public
      rights exception, this combination would empower Congress to bypass
      Article III adjudication in countless matters. But the Supreme Court has
      cautioned that the doctrine is a narrow and extra-textual “exception” to
      presumptively mandatory Article III jurisdiction. Jarkesy, 603 U.S. at 131.
              Second, the common carrier doctrine is deeply rooted in the common
      law. See, e.g., NetChoice, 49 F.4th at 469 (“The common carrier doctrine is a
      body of common law dating back long before our Founding.”). 9 Negligence
      claims against common carriers have been routinely adjudicated in state and
      federal courts. See, e.g., Cole v. Goodwin & Storey, 19 Wend. 251, 281 (N.Y.
      Sup. Ct. 1839) (a “coach proprietor’s” common carrier status made it
      strictly liable in tort). 10 In light of that, it would be bizarre to situate a
      negligence action against carriers within the “historic categories of
      adjudications” falling outside Article III. Jarkesy, 603 U.S. at 130. 11



              _____________________
              9
                 See 19 Charles Alan Wright, Arthur R. Miller & Edward H.
      Cooper, Federal Practice and Procedure § 4514 (3d ed. 2024) (citing cases placing common
      carriers’ liability within the federal common law because such liability involves significant
      federal interests); see also Robert J. Kaczorowski, The Common-Law Background of
      Nineteenth-Century Tort Law, 51 Ohio State L.J. 1127, 1132 (1990) (explaining that
      “the common law imposed on persons engaged in a common calling a duty of reasonable
      care and a standard of professional competence”).
              10
                 See also New Jersey Steam Nav. Co. v. Merch.’s Bank of Bos., 47 U.S. 344 (1848)
      (steamboat operator liable for losses at sea); S. Exp. Co. v. Purcell, 37 Ga. 103 (1867)
      (railroad for loss of cotton bales); Duggan v. New Jersey & W. Ferry Co., 76 A. 636 (Del.
      Super. Ct. 1909) (ferry operator for personal injuries); Goldstein v. Northern Pac. Ry. Co.,
      164 N.D. 602 (1917) (railroad for conversion); Korner v. Cosgrove, 108 Ohio St. 484 (1923)
      (taxicab operator for employee’s assault of a passenger); Callaway v. Hart, 146 F.2d 103
      (5th Cir. 1944) (railroad for negligently leaving doors open) Andrews v. United Airlines, Inc.,
      24 F.3d 39 (9th Cir. 1994) (airline for luggage falling on passenger).
              11
              Nor does it matter that this action is brought by the Government. The Supreme
      Court “ha[s] never held that ‘the presence of the United States as a proper party to the




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              Third, the cases cited by the Commission fail to show that the public
      rights exception generally applies to common carriers. Some of the cases
      involved actions far afield from this one, such as public benefits or actions
      falling within federal admiralty jurisdiction.12 Those actions arguably fall
      within the historical categories of non-Article III adjudications listed in
      Jarkesy. See 603 U.S. at 130. Whether they do or not, though, they do not
      involve anything like a negligence action against a common carrier for money
      damages.
              It is true that federal agencies like the Commission have long had
      regulatory authority over common carriers, such as when setting rates or
      granting licenses. See, e.g., Virginian Ry. Co. v. United States, 272 U.S. 658
      (1926) (discussing the Interstate Commerce Commission’s oversight of
      railroad carriers). 13 But that does not imply, as the Commission seems to
      think, that any regulatory action concerning common carriers implicates the
      public rights exception and can therefore be “siphon[ed] . . . away from an
      Article III court.” Jarkesy, 603 U.S. at 135.




              _____________________
      proceeding is . . . sufficient’ by itself to trigger the [public rights] exception.” Jarkesy, 603
      U.S. at 135.
              12
                See Scripps-Howard Radio v. FCC, 316 U.S. 4 (1942) (addressing FCC order
      granting application for a construction permit and station license); Red Lion Broad. Co. v.
      FCC, 395 U.S. 367 (1969) (addressing “fairness doctrine” governing content carriers could
      broadcast over radio frequency); Crowell, 285 U.S. 22 (addressing challenge to the
      Longshoremen’s and Harbor Workers’ Compensation Act of 1927).
              13
                See also Burlington N., Inc. v. United States, 459 U.S. 131, 141 (1982) (discussing
      Commission’s authority to set rates); Regents of Univ. Sys. of Ga. v. Carroll, 338 U.S. 586,
      598 (1950) (discussing Commission’s authority to grant licenses); Belluso v. Turner
      Commc’ns Corp., 633 F.2d 393, 397 (5th Cir. 1980) (discussing the Commission’s authority
      to sanction licensees).




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              Not even the first modern administrative agency thought that was
      so. 14 The Interstate Commerce Commission, while empowered to regulate
      common carriers and recommend monetary penalties, believed its
      enforcement actions were subject to the Seventh Amendment and so,
      necessarily, to Article III adjudication. The agency’s 1887 report, issued the
      year it was created, stated that its power “must be so construed as to
      harmonize with the seventh amendment to the Federal Constitution, which
      preserves the right of trial by jury in common-law suits.” 1887 Interstate
      Com. Comm’n Ann. Rep. 27; see also Richard L. Jolly, The
      Administrative State’s Jury Problem, 98 Wash. L. Rev. 1187, 1242 (2023)
      (quoting Report’s conclusion that it was “unquestionable that parties can not
      [sic] be deprived of [the jury] right through conferring authority to award
      reparation upon a tribunal that sits without a jury as assistant”). The
      Commission takes no account of this history, which is flatly inconsistent with
      exempting its enforcement action from Article III adjudication. 15
                                           *        *         *
              Ultimately, “what matters” for Article III purposes “is the substance
      of the suit, not where it is brought, who brings it, or how it is labeled.”
      Jarkesy, 603 U.S. at 135. As explained, this matter involves an action closely

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              14
                 See Lawrence M. Friedman, A History of American Law 439 (2d
      ed. 1985). The ICC was the FCC’s predecessor.
              15 Consistent with this history is Meeker v. Lehigh Valley R.R. Co., 236 U.S. 412, 430

      (1915), which involved an ICC action targeting a railroad’s unreasonable rates. The
      Supreme Court addressed whether a provision treating the ICC’s initial factfinding as a
      “rebuttable presumption” that could be reconsidered in a later jury trial comported with
      the Seventh Amendment. Ibid. Unlike the Commission’s action against AT&T here, the
      ICC action there (rate setting) had no common law analogue. Even so, the Court assumed
      the railroad had a jury right in the action and held the provision does not violate the Seventh
      Amendment because “[i]t cuts off no defense, interposes no obstacle to a full contestation
      of all the issues, and takes no question of fact from either court or jury.” Ibid.




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      analogous to a common law negligence action—and, importantly, one where
      the Commission seeks “civil penalties, a punitive remedy that [the Supreme
      Court] ha[s] recognized ‘could only be enforced in courts of law.’” Id. at 134
      (quoting Tull, 481 U.S. at 422). Accordingly, the public rights exception does
      not apply and Article III adjudication is mandatory. Id. at 128.
                                            C
             Finally, the Commission argues that, even if the Seventh Amendment
      and Article III apply, the proceeding here meets their demands.
             The Commission points to the possibility of a back-end section 504
      trial. Recall that a carrier who fails to timely pay a forfeiture penalty may be
      sued by DOJ in federal district court. See 47 U.S.C. § 504(a). The
      Commission suggests this would give a carrier everything promised by the
      Seventh Amendment and Article III. We disagree.
             To begin with, by the time DOJ sues (if it does), the Commission
      would have already adjudged a carrier guilty of violating section 222 and
      levied fines. This case shows how the process works. The Commission
      investigated AT&T, issued a charging document (the NAL), and received
      AT&T’s written objections. The Commission then affirmed the NAL by
      making fact findings, interpreting section 222, and applying that
      understanding to the facts it had found. This resulted in a forfeiture order
      concluding AT&T had violated the law and imposing $57 million in
      penalties. So, in this process, which was completely in-house, the
      Commission acted as prosecutor, jury, and judge.
             Such forfeiture orders, furthermore, are not mere suggestions—to the
      contrary, they have real-world impacts on carriers. For example, the
      Commission must consider any history of prior adjudicated offenses in
      imposing future penalties. See 47 U.S.C. § 503(b)(2)(E) (“In determining the
      amount of such a forfeiture penalty, the Commission or its designee shall take




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      into account . . . any history of prior offenses . . . .”). Unsurprisingly, they
      also cause reputational harm to carriers because they can be widely publicized
      and reported. See FCC v. Fox Television Stations, Inc., 567 U.S. 239, 256
      (2012) (explaining forfeiture orders’ impact on carriers’ reputations). And
      consider the risks to a carrier of even getting to the section 504 trial: the
      carrier must refuse to pay a penalty and wait for DOJ to drag it into court.
              In light of this, we reject the Commission’s argument that a section
      504 enforcement proceeding satisfies Article III and the Seventh
      Amendment. The Commission cites no authority supporting the proposition
      that the constitutional guarantee of a jury trial is honored by a trial occurring
      after an agency has already found the facts, interpreted the law, adjudged
      guilt, and levied punishment.
              But put all that aside for a moment and consider another glaring
      problem. In a section 504 trial, a defendant cannot challenge a forfeiture
      order’s legal conclusions. As our court has explained, in a section 504(a)
      action, the district court is “limited to considering the factual basis for the
      agency action” but not petitioner’s “legal arguments.” Stevens, 691 F.3d at
      622. 16 So, even assuming an after-the-fact jury trial could potentially satisfy
      the demands of the Constitution, the one provided here amputates the
      carrier’s ability to challenge the legality of the forfeiture order.


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              16
                 The Commission tries to distinguish Stevens on the ground that it involved legal
      challenges to a rule outside of a statutorily imposed deadline, but Stevens’ reasoning was
      not limited to such challenges. See id. at 623 (“Persons aggrieved by a final FCC forfeiture
      order must raise legal challenges to the validity of the order in a timely petition for review
      in the appropriate court of appeals.”). And, contrary to the Commission’s argument, PDR
      Network, LLC v. Carlton & Harris Chiropractic, Inc., 588 U.S. 1 (2019), does not support a
      narrow reading of Stevens. There, the Supreme Court expressly refused to decide whether
      the Hobbs Act’s exclusive-review provision affords a prior and adequate opportunity for
      judicial review of Commission orders interpreting statutory provisions. Id. at 8.




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             True, AT&T could challenge the Commission’s legal conclusions by
      doing what it did in this case—paying the forfeiture and seeking direct
      appellate review. See 47 U.S.C. § 402(a); see also AT&T Corp., 323 F.3d at
      1084. But that only underscores the dilemma in which AT&T finds itself. If
      AT&T wants an Article III court to review the forfeiture order’s legality, it
      has to give up a jury trial. If it wants a jury trial, it has to defy a multi-million
      dollar penalty, wait for DOJ to sue, and, even then, relinquish its ability to
      challenge the order’s legality.
             Either way, AT&T’s Seventh Amendment rights have been denied.
                                              IV
             No one denies the Commission’s authority to enforce laws requiring
      telecommunications companies like AT&T to protect sensitive customer
      data. But the Commission must do so consistent with our Constitution’s
      guarantees of an Article III decisionmaker and a jury trial.
             Accordingly, we GRANT AT&T’s petition and VACATE the
      Commission’s forfeiture order.




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